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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,
                                                            CASE No. 1:19-CR-117
v.
                                                            HON. ROBERT J. JONKER
LARRY CHARLES INMAN,

            Defendant.
__________________________________/

                                            ORDER

         This matter came up for a Final Pretrial Conference on November 12, 2019. During the

Conference, the Court resolved the Government’s motions in limine and discussed the trial

schedule. Based on all matters of record, and for the reasons the Court stated in detail during the

Conference, it is ordered:

         1. The Government’s Motion in Limine to Admit Summary Charts of Text Message

            Evidence (ECF No. 36) is GRANTED.

         2. The Government’s Motion in Limine to Admit Text Messages Between Defendant

            Inman and the IBEW (ECF No. 39) is GRANTED.

         3. The Government’s Motion in Limine to Exclude Expert Testimony Regarding

            Diminished Capacity (ECF No. 72) is GRANTED.

IT IS SO ORDERED.



Dated:     November 13, 2019                  /s/ Robert J. Jonker
                                             ROBERT J. JONKER
                                             CHIEF UNITED STATES DISTRICT JUDGE
